Case 23-12825-MBK   Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04   Desc
                          Annex E Page 1 of 18



                                ANNEX E

                          2023 Funding Agreement
 Case 23-12825-MBK          Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                Desc
                                  Annex E Page 2 of 18



                                   FUNDING AGREEMENT

       This FUNDING AGREEMENT, dated April 4, 2023 (as it may be amended, restated,
modified or supplemented from time to time, this “Agreement”), is by and between JOHNSON &
JOHNSON HOLDCO (NA) INC., a New Jersey corporation formerly named Johnson & Johnson
Consumer Inc. (the “Payor”), and LTL MANAGEMENT LLC, a North Carolina limited liability
company (the “Payee”).

                                           RECITALS

       A.      The Payor, the Payee and Johnson & Johnson, a New Jersey corporation (“J&J”),
have entered into that certain Termination and Substitution Agreement, dated April 4, 2023 (the
“Termination and Substitution Agreement”), pursuant to which (1) the Amended and Restated
Funding Agreement, dated October 12, 2021 (the “2021 Funding Agreement”), among the Payor,
the Payee and J&J and the Amended and Restated Commitment and Loan Agreement, dated
October 12, 2021, between J&J and Holdco have been terminated and (2) the Payor, the Payee and
J&J have agreed to execute and deliver, in substitution therefor, new agreements the terms of
which will, among other things, (a) address the guidance provided by the United States Court of
Appeals for the Third Circuit in its January 30, 2023 opinion directing dismissal of the Payee’s
then pending Bankruptcy Case, (b) facilitate confirmation and consummation of a plan of
reorganization for the Payee containing terms supported by thousands of talc claimants whose
attorneys (“Supporting Talc Claimant Counsel”) have executed and delivered Plan Support
Agreements that support confirmation and consummation of a plan of reorganization for the Payee
with specified terms, which terms are acceptable to the Payee, the Payor and J&J, and (c) not
adversely affect talc claimants.

        B.      Contemporaneously with the execution and delivery of this Agreement, pursuant to
Section 2(b) of the Termination and Substitution Agreement, the Payee, the Payor and J&J have
executed and delivered a Support Agreement, pursuant to which, on the terms and subject to the
conditions set forth therein, (1) solely in connection with a voluntary case under chapter 11 of the
Bankruptcy Code to be commenced by the Payee and only if the Payor fails to make any Payment
to provide the Payee funding for one or more trusts created pursuant to a Supported Plan, J&J will
make such Payment to the Payee on the Payor’s behalf, (2) the Payor will be obligated to reimburse
J&J for any such Payment and any amount not so reimbursed by the Payor will be deemed financed
with a loan from J&J to the Payor, and the Payor’s obligation to make such reimbursement will be
discharged and replaced by such loan, and (3) the Payee will have the right to enforce such
obligation of J&J.

       C.      Section 2(a) of the Termination and Substitution Agreement provides that the Payor
and the Payee will enter into this Agreement to establish the terms and conditions on which the
Payor will provide funding to the Payee both (1) when there is no proceeding under the Bankruptcy
Code pending with respect to the Payee and (2) during the pendency of any voluntary case under
chapter 11 of the Bankruptcy Code commenced by the Payee.




NAI-1535636655
 Case 23-12825-MBK          Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                 Desc
                                  Annex E Page 3 of 18



                                          AGREEMENT

        NOW, THEREFORE, in consideration of the foregoing, the parties hereto agree as follows:

        1.     Definitions. As used in this Agreement, the following terms have the meanings
herein specified unless the context otherwise requires:

        “2021 Funding Agreement” has the meaning specified in the recitals to this Agreement.

        “Affiliate” of any specified Person means any other Person directly or indirectly
controlling or controlled by or under direct or indirect common control with such specified Person.
For purposes of this definition, “control,” as used with respect to any Person, means the possession,
directly or indirectly, of the power to direct or cause the direction of the management or policies
of such Person, whether through the ownership of voting securities, by agreement or otherwise.
For purposes of this definition, the terms “controlling,” “controlled by” and “under common
control with” have correlative meanings.

        “Agreement” has the meaning specified in the first paragraph hereof.

     “Bankruptcy Case” means any voluntary case under chapter 11 of the Bankruptcy Code
commenced by the Payee in the Bankruptcy Court.

       “Bankruptcy Code” means title 11 of the United States Code, as amended from time to
time and any successor statute and all rules and regulations promulgated thereunder.

        “Bankruptcy Court” means the United States Bankruptcy Court where the Bankruptcy
Case is commenced.

       “Base Rate” means, for any day, a fluctuating interest rate per annum as shall be in effect
from time to time, which rate per annum shall at all times be equal to the Federal Funds Effective
Rate in effect from time to time, determined one Business Day in arrears, plus 1/2 of 1% per
annum.

       “Board” means: (a) with respect to a corporation, the board of directors of the corporation
or any committee thereof; (b) with respect to a partnership, the board of directors, the managing
member or members or the board of managers, as applicable, of the general partner of the
partnership; (c) with respect to a limited liability company, the managing member or members or
the board of managers, as applicable, of the limited liability company; and (d) with respect to any
other Person, the board or committee of such Person serving a similar function.

         “Business Day” means each day other than a Saturday, a Sunday or a day on which banking
institutions in New Brunswick, New Jersey or at a place of payment are authorized by law,
regulation or executive order to remain closed.

         “Capital Stock” means: (a) in the case of a corporation, corporate stock; (b) in the case of
an association or business entity, any and all shares, interests, participations, rights or other
equivalents (however designated) of corporate stock; (c) in the case of a partnership or limited
liability company, partnership or membership interests (whether general or limited); and (d) any


                                                 2
NAI-1535636655
 Case 23-12825-MBK           Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                   Desc
                                   Annex E Page 4 of 18



other interest or participation that confers on a Person the right to receive a share of the profits and
losses of, or distributions of assets of, the issuing Person; but excluding (in each case of (a) through
(d) above) any debt securities convertible into such equity securities.

         “Chenango” means Chenango Zero LLC, a Texas limited liability company.

       “Contractual Obligation” means, as to any Person, any obligation or similar provision of
any security issued by such Person or any agreement, instrument or other undertaking (excluding
this Agreement) to which such Person is a party or by which it or any of its property is bound.

       “Default” means any event that is, or with the passage of time or the giving of notice or
both would be, an Event of Default.

         “District Court” means the United States District Court in the district of the Bankruptcy
Court.

       “Divisional Merger” means the divisional merger of Chenango pursuant to Chapter 10 of
the Texas Business Organizations Code that became effective on October 12, 2021.

         “Event of Default” has the meaning specified in Section 6.

        “Federal Funds Effective Rate” means, for any period, a fluctuating interest rate equal for
each day during such period to the weighted average of the rates on overnight Federal Funds
transactions with members of the Federal Reserve System arranged by Federal Funds brokers, as
published for such day (or, if such day is not a Business Day, for the next preceding Business Day)
by the Federal Reserve Bank of New York.

        “Funding Account” means the account of the Payee listed on Schedule 2 to this Agreement,
into which the proceeds of all Payments made under this Agreement shall be deposited, or such
other account designated in writing by the Payee to the Payor from time to time.

         “Funding Date” has the meaning specified in Section 2(b).

         “Funding Request” has the meaning specified in Section 2(b).

        “GAAP” means generally accepted accounting principles in the United States set forth in
the opinions and pronouncements of the Accounting Principles Board and the American Institute
of Certified Public Accountants and statements and pronouncements of the Financial Accounting
Standards Board or such other principles as may be approved by a significant segment of the
accounting profession in the United States, in effect from time to time, consistently applied.

        “Governmental Authority” means the government of the United States or any other nation,
or of any political subdivision thereof, whether state or local, and any agency, authority,
instrumentality regulatory body, court, central bank or other entity exercising executive,
legislative, judicial, taxing, regulatory or administrative powers or functions of or pertaining to
government.

         “J&J” has the meaning specified in the recitals to this Agreement.


                                                   3
NAI-1535636655
 Case 23-12825-MBK          Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                  Desc
                                  Annex E Page 5 of 18



        “Organizational Documents” means: (a) with respect to any corporation, its certificate or
articles of incorporation and bylaws; (b) with respect to any limited liability company, its
certificate or articles of formation or organization and operating agreement; and (c) with respect
to any partnership, joint venture, trust or other form of business entity, the partnership, joint
venture or other applicable agreement of formation or organization and any agreement, instrument,
filing or notice with respect thereto filed in connection with its formation or organization with the
applicable Governmental Authority in the jurisdiction of its formation or organization and, if
applicable, any certificate or articles of formation of such entity.

        “Payee” has the meaning specified in the first paragraph of this Agreement.

        “Payee Affiliate” means any controlled Affiliate of the Payee.

        “Payee Material Adverse Effect” means: (a) a material impairment of the rights and
remedies of the Payor under this Agreement, or of the ability of the Payee to perform its material
obligations under this Agreement; or (b) a material adverse effect upon the legality, validity or
enforceability of this Agreement against the Payee.

        “Payment” has the meaning specified in Section 2(a).

        “Payor” has the meaning specified in the first paragraph of this Agreement.

        “Payor Affiliate” means any Affiliate of the Payor, excluding the Payee and any Payee
Affiliate.

        “Payor Material Adverse Effect” means with respect to the Payor: (a) a material adverse
change in, or a material adverse effect upon, the business, assets, liabilities (actual or contingent)
or financial condition of the Payor and its Subsidiaries, taken as a whole; (b) a material impairment
of the rights and remedies of the Payee under this Agreement, or of the ability of the Payor to
perform its material obligations under this Agreement; or (c) a material adverse effect upon the
legality, validity or enforceability of this Agreement against the Payor.

        “Permitted Funding Use” means each of the following:

                (a)     the payment of any and all costs and expenses of the Payee incurred in the
        normal course of its business (including the payment of any indemnification or other
        obligations of the Payee owing to any managers or officers of the Payee) at any time when
        there is no proceeding under the Bankruptcy Code pending with respect to the Payee;

                (b)     the payment of any and all costs and expenses of the Payee incurred during
        the pendency of any Bankruptcy Case, including the costs of administering the Bankruptcy
        Case and any and all other costs and expenses of the Payee incurred in the normal course
        of its business (including the payment of any indemnification or other obligations of the
        Payee owing to any managers or officers of the Payee);




                                                  4
NAI-1535636655
 Case 23-12825-MBK             Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                 Desc
                                     Annex E Page 6 of 18



                 (c)     the funding of any amounts to satisfy:

                         (i)    the Payee’s Talc Related Liabilities established by a judgment of a
                 court of competent jurisdiction or final settlement thereof at any time when there is
                 no proceeding under the Bankruptcy Code pending with respect to the Payee;

                         (ii)    the Payee’s Talc Related Liabilities in connection with the funding
                 of one or more trusts for the benefit of existing and future claimants created pursuant
                 to a Supported Plan; and

                        (iii)    in the case of either (i) or (ii), any ancillary costs and expenses of
                 the Payee associated with such Talc Related Liabilities and any litigation thereof,
                 including the costs of any appeals;

               (d)      the funding of any amounts necessary to cause the Funding Account to
        contain at least $5,000,000 at such time;

                (e)     the funding of any obligations of the Payee owed to the Payor or any Payor
        Affiliate, including any indemnification or other obligations of the Payee under any
        agreement provided for in the Plan of Divisional Merger; and

               (f)     the payment of any and all costs and expenses of the Payee incurred in
        connection with the pursuit of available remedies to collect any unfunded Payments due
        and owing to the Payee or otherwise to enforce the performance by the Payor, or either of
        them, of any provision of this Agreement;

        in the case of clauses (a) through (e) above, solely to the extent that any cash distributions
        theretofore received by the Payee from its Subsidiaries are insufficient to pay such costs
        and expenses and fund such amounts and obligations in full and further, in the case of
        clause (c)(ii) above, solely to the extent the Payee’s other assets are insufficient to satisfy
        the Payee’s Talc Related Liabilities in connection with the funding of such judgment,
        settlement or trust or trusts, as applicable.

        “Person” means any individual, corporation, partnership, limited liability company, joint
venture, trust, unincorporated organization, or government or any agency or political subdivision
thereof.

       “Plan of Divisional Merger” means the Plan of Divisional Merger that provided for the
Divisional Merger.

        “Plan Support Agreements” means collectively the Plan Support Agreements, dated as of
or prior to the date of this Agreement, by and among the Payee, the Payor, J&J, Supporting Talc
Claimant Counsel.

        “SEC” means the Securities and Exchange Commission.




                                                    5
NAI-1535636655
 Case 23-12825-MBK          Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04              Desc
                                  Annex E Page 7 of 18



       “Subsidiary” means, with respect to any Person, any other Person a majority of the
outstanding Voting Stock of which is owned or controlled by such Person or by one or more other
Subsidiaries of such Person and that is consolidated in such Person’s accounts.

        “Supported Plan” means a plan of reorganization for the Payee that contains the Supported
Plan Terms and is confirmed by a final, nonappealable order of the Bankruptcy Court and, to the
extent required, the District Court.

        “Supported Plan Terms” means, so long as any Plan Support Agreements remain in effect,
the terms of a plan of reorganization for the Payee described in such Plan Support Agreements,
including the exhibits thereto, as such terms may be modified, amended or supplemented in
accordance with such Plan Support Agreements.

      “Supporting Talc Claimant Counsel” has the meaning specified in the recitals to this
Agreement.

        “Talc Related Liabilities” has the meaning specified in Schedule 1 to this Agreement.

      “Termination and Substitution Agreement” has the meaning specified in the recitals to this
Agreement.

         “Voting Stock” of any Person as of any date means the Capital Stock of such Person that
is at the time entitled to vote in the election of the Board of such Person.

        2.       Funding Obligations and Procedures.

                 (a)   Funding Obligations. The Payor hereby agrees, on the terms and conditions
set forth in this Agreement, upon the request of the Payee from time to time in accordance with
the requirements of Section 2(b), to make payments to the Payee (each, a “Payment”), the proceeds
of which shall be used by the Payee for a Permitted Funding Use. Nothing in this Agreement shall
obligate the Payor to make any individual Payment under this Agreement that exceeds the amount
requested by the Payee in the applicable Funding Request.

               (b)     Funding Requests. To request a Payment, the Payee shall deliver to the
Payor a written request (which written request may be a .pdf delivered via email) for such Payment
in a form reasonably acceptable to the Payor and signed by the Payee (each, a “Funding Request”).
Each Funding Request shall specify (i) the amount of the requested Payment, which shall be no
less than $500,000, and (ii) the date of the requested Payment, which shall be the date that is at
least five Business Days following the delivery of such Funding Request (each such date, a
“Funding Date”). Each Funding Request by the Payee shall constitute a representation and
warranty by the Payee that the conditions set forth in Section 2(d) have been satisfied. Except as
required to comply with the minimum requirements in Section 2(b)(i), the Payee shall not deliver
a Funding Request for an amount in excess of the aggregate amount necessary for the Payee to
fund all current Permitted Funding Uses and all projected Permitted Funding Uses over the 30
days following the date of such Funding Request.

               (c)     Payments. Subject only to the satisfaction of the conditions set forth in
Section 2(d), on or before any Funding Date, the Payor shall pay or cause to be paid to the Payee

                                                6
NAI-1535636655
 Case 23-12825-MBK            Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                  Desc
                                    Annex E Page 8 of 18



an amount equal to the amount of the requested Payment specified in the applicable Funding
Request. All Payments shall be made by wire or other transfer of immediately available funds, in
United States dollars, to the Funding Account. In the event that the Payor does not make any
Payment within the time period required by this Section 2(c), the amount of the requested Payment
shall bear interest at a rate per annum equal to the Base Rate plus 2% until such Payment is made
and the Payor shall include any interest accruing pursuant to this Section 2(c) in the next Payment
made to the Payee.

                (d)      Conditions to Payments. The Payor’s obligation to make any Payment is
subject to the satisfaction of the following conditions as of the date of the Funding Request relating
to such Payment: (i) the representations and warranties of the Payee set forth in Section 3(b) shall
be true and correct without regard to the impact of any Bankruptcy Case, including any notices or
other actions that may be required therein; and (ii) there shall have been no violation by the Payee
of the covenant set forth in Section 5.

               (e)     Automatic Termination. This Agreement will automatically terminate
without notice and without any other action by any party hereto at such time as (i) the Payee’s Talc
Related Liabilities have been satisfied and (ii) there are no remaining Permitted Funding Uses
under clause (b) or clause (c) of the definition of “Permitted Funding Uses” in Section 1.

        3.       Representations and Warranties.

               (a)     Representations and Warranties of the Payor. The Payor represents and
warrants to the Payee that:

                         (i)      Existence, Qualification and Power. The Payor (A) is duly
                 organized or formed, validly existing and, as applicable, in good standing under the
                 laws of its jurisdiction of incorporation or organization, (B) has all requisite power
                 and authority and all requisite governmental licenses, authorizations, consents and
                 approvals to (I) own or lease its material assets and carry on its business and (II)
                 execute, deliver and perform its obligations under this Agreement, and (C) is duly
                 qualified and is licensed and, as applicable, in good standing under the laws of each
                 jurisdiction where its ownership, lease or operation of properties or the conduct of
                 its business requires such qualification or license; except in each case referred to in
                 clause (B)(I) or (C), to the extent that failure to do so could not reasonably be
                 expected to have a Payor Material Adverse Effect.

                         (ii)    Authorization; No Contravention. The execution, delivery and
                 performance by the Payor of this Agreement has been duly authorized by all
                 necessary corporate or other organizational action, and does not and will not (A)
                 contravene the terms of its Organizational Documents, (B) conflict with or result in
                 any breach or contravention of, or the creation of any lien under, or require any
                 payment to be made under (I) any Contractual Obligation to which it is a party or
                 affecting it or its properties or (II) any order, injunction, writ or decree of any
                 Governmental Authority or any arbitral award to which it or its property is subject,
                 or (C) violate any applicable law; except in each case referred to in clause (B) or



                                                   7
NAI-1535636655
 Case 23-12825-MBK            Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                 Desc
                                    Annex E Page 9 of 18



                 (C), to the extent the failure to do so could not reasonably be expected to have a
                 Payor Material Adverse Effect.

                        (iii) Governmental Authorization; Other Consents. No approval,
                 consent, exemption, authorization or other action by, or notice to, or filing with,
                 any Governmental Authority or any other Person is necessary or required in
                 connection with the execution, delivery or performance of this Agreement by, or
                 enforcement of this Agreement against, the Payor.

                         (iv)    Binding Effect. This Agreement has been duly executed and
                 delivered by the Payor. This Agreement constitutes a legal, valid and binding
                 obligation of the Payor, enforceable against the Payor in accordance with its terms,
                 except to the extent such enforceability may be limited by bankruptcy, insolvency,
                 reorganization, moratorium or similar laws relating to or limiting creditors’ rights
                 generally and by equitable principles.

               (b)     Representations and Warranties of the Payee. The Payee represents and
warrants to the Payor that:

                         (i)      Existence, Qualification and Power. The Payee (A) is duly
                 organized or formed, validly existing and, as applicable, in good standing under the
                 laws of its jurisdiction of incorporation or organization, (B) has all requisite power
                 and authority and all requisite governmental licenses, authorizations, consents and
                 approvals to (I) own or lease its material assets and carry on its business and
                 (II) execute, deliver and perform its obligations under this Agreement, and (C) is
                 duly qualified and is licensed and, as applicable, in good standing under the laws
                 of each jurisdiction where its ownership, lease or operation of properties or the
                 conduct of its business requires such qualification or license; except in each case
                 referred to in clause (B)(I) or (C), to the extent that failure to do so could not
                 reasonably be expected to have a Payee Material Adverse Effect.

                         (ii)    Authorization; No Contravention. The execution, delivery and
                 performance by the Payee of this Agreement has been duly authorized by all
                 necessary corporate or other organizational action, and does not and will not (A)
                 contravene the terms of its Organizational Documents, (B) conflict with or result in
                 any breach or contravention of, or the creation of any lien under, or require any
                 payment to be made under (I) any Contractual Obligation to which it is a party or
                 affecting it or its properties or (II) any order, injunction, writ or decree of any
                 Governmental Authority or any arbitral award to which it or its property is subject,
                 or (C) violate any applicable law; except in each case referred to in clause (B) or
                 (C), to the extent the failure to do so could not reasonably be expected to have a
                 Payee Material Adverse Effect.

                        (iii) Governmental Authorization; Other Consents. No approval,
                 consent, exemption, authorization or other action by, or notice to, or filing with,
                 any Governmental Authority or any other Person is necessary or required in



                                                   8
NAI-1535636655
 Case 23-12825-MBK           Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                  Desc
                                   Annex E Page 10 of 18



                 connection with the execution, delivery or performance of this Agreement by, or
                 enforcement of this Agreement against, the Payee.

                         (iv)    Binding Effect. This Agreement has been duly executed and
                 delivered by the Payee. This Agreement constitutes a legal, valid and binding
                 obligation of the Payee, enforceable against the Payee in accordance with its terms,
                 except to the extent such enforceability may be limited by bankruptcy, insolvency,
                 reorganization, moratorium or similar laws relating to or limiting creditors’ rights
                 generally and by equitable principles.

        4.       Covenants of the Payor.

                 (a)    Provision of Financial Information.

                        (i)    No later than 90 days after the end of each fiscal year (in the case of
annual financial statements) and 60 days after the end of each fiscal quarter other than the last
fiscal quarter (in the case of quarterly financial statements), the Payor will furnish to the Payee
unaudited annual and quarterly income statements and balance sheets of the Payor prepared in
accordance with GAAP and the Payor’s historical cost basis of its Subsidiaries, subject to the
absence of notes to the financial statements and related disclosures and, with respect to quarterly
financial statements, normal year-end adjustments.

                        (ii)   By accepting such financial information, the Payee will be deemed
to have represented to and agreed with the Payor furnishing such financial information that: (A) it
will not use the information in violation of applicable securities laws or regulations; and (B) it will
not communicate the information to any Person, including in any aggregated or converted form,
and will keep the information confidential, other than where disclosure of such information is
required by law, regulation or legal process (in which case the Payee shall, to the extent permitted
by law, notify the Payor promptly thereof); provided, however, that the Payee may deliver a copy
thereof to counsel for any official committee of claimants and any future claimants’ representative
appointed in any Bankruptcy Case on a confidential basis under a protective order entered in such
Bankruptcy Case.

                        (iii) Notwithstanding the foregoing, but subject to the last sentence of
this Section 4(a)(iii), the financial information required to be furnished as described in
Section 4(a)(i) may be, rather than that of the Payor, those of any direct or indirect parent of the
Payor. Notwithstanding the foregoing, the Payor may fulfill the requirement to furnish such
financial information by filing the information with the SEC within the applicable time periods
required by the SEC. Subject to the last sentence of this Section 4(a)(iii), the Payor will be deemed
to have satisfied the requirements of Section 4(a)(i) if any direct or indirect parent of the Payor has
filed such reports containing the required information with the SEC within the applicable time
periods required by the SEC and such reports are publicly available. To the extent a direct or
indirect parent of the Payor furnishes financial information pursuant to the first sentence of this
Section 4(a)(iii) or such parent files a report with the SEC pursuant to the third sentence of this
Section 4(a)(iii), and if the financial information so furnished relates to such direct or indirect
parent of the Payor, the same shall be accompanied by consolidating information that explains in
reasonable detail the difference between the information relating to such parent, on the one hand,


                                                  9
NAI-1535636655
 Case 23-12825-MBK           Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                  Desc
                                   Annex E Page 11 of 18



and the information relating to the Payor and its Subsidiaries on a standalone basis, on the other
hand.

                 (b)   Successor to the Payor upon Consolidation or Merger.

                       (i)     Subject to the provisions of Sections 4(b)(ii) and 4(b)(iii), nothing
contained in this Agreement shall prevent any consolidation or merger of the Payor with or into
any Person, or successive consolidations or mergers in which the Payor or its successor or
successors shall be a party or parties, or shall prevent any sale, assignment, transfer, lease,
conveyance or other disposition of all or substantially all the property of the Payor (for the
avoidance of doubt, calculated by including any equity interests held by the Payor), to any Person;
provided, however, that the Payor hereby covenants and agrees, that, if the surviving Person,
acquiring Person or lessee is a Person other than the Payor, upon any such consolidation, merger,
sale, assignment, transfer, lease, conveyance or other disposition, all of the Payor’s funding
obligations under this Agreement and the observance of all other covenants and conditions of this
Agreement to be performed by the Payor, shall be expressly assumed, by an amendment to this
Agreement or such other documentation in form reasonably satisfactory to the Payee executed and
delivered to the Payee, by the Person formed by such consolidation, or into which the Payor shall
have been merged, or by the Person which shall have acquired or leased such property. This
covenant will not apply to (A) a merger of the Payor with an Affiliate thereof solely for the purpose
of reincorporating the Payor in another jurisdiction within the United States, (B) any conversion
of the Payor from an entity formed under the laws of one state to the same type of entity formed
under the laws of another state, or (C) any conversion of the Payor from a limited liability company
to a corporation, from a corporation to a limited liability company, from a limited liability company
to a limited partnership or a similar conversion, whether the converting entity and the converted
entity are formed under the laws of the same state or the converting entity is formed under the laws
of one state and the converted entity is formed of the laws of a different state. Notwithstanding
the foregoing, this Section 4(b)(i) will not apply to any consolidation or merger, or any sale,
assignment, transfer, conveyance, lease or other disposition of assets, between or among the Payor
and its Subsidiaries.

                         (ii)   Upon any consolidation or merger, or any sale, assignment, transfer,
lease, conveyance or other disposition of all or substantially all of the assets, of the Payor (for the
avoidance of doubt, calculated by including any equity interests held by the Payor) in a transaction
that is subject to, and that complies with, the provisions of the preceding clause (i), the successor
Person formed by such consolidation with the Payor or into which the Payor is merged, or to which
such sale, assignment, transfer, lease, conveyance or other disposition is made, shall succeed to,
and be substituted for (so that from and after the date of such consolidation, merger, sale, lease,
conveyance or other disposition, the provisions of this Agreement referring the “Payor” shall refer
instead to the successor Person and not to the Payor), and may exercise every right and power of,
the Payor, under this Agreement with the same effect as if such successor Person had been named
herein. In the event of a succession in compliance with this Section 4(b)(ii), the predecessor Person
shall be relieved from every obligation and covenant under this Agreement upon the
consummation of such succession.

                      (iii) Any consolidation, merger, sale, assignment, transfer, lease,
conveyance or other disposition referred to in the preceding clause (i) shall not be permitted under


                                                  10
NAI-1535636655
 Case 23-12825-MBK           Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                    Desc
                                   Annex E Page 12 of 18



this Agreement unless immediately after giving effect to such transaction, no Default or Event of
Default shall have occurred and be continuing.

        5.     Covenants of the Payee. The Payee shall not use the proceeds of any Payment made
under this Agreement for any purpose other than a Permitted Funding Use. The Payee will perform
its indemnification obligations under the agreements provided for in the Plan of Divisional Merger
in all material respects, subject, in the event that a proceeding under the Bankruptcy Code is
pending with respect to the Payee, to the resulting automatic stay under section 362 of the
Bankruptcy Code.

        6.       Events of Default. Each of the following events constitutes an “Event of Default”:

                (a)    the Payor defaults in the funding obligations pursuant to Section 2 and such
        default continues for a period of 10 Business Days;

                (b)    the Payor defaults in the performance of, or breaches, any covenant or
        representation or warranty of the Payor in this Agreement (other than a covenant or
        representation or warranty which is specifically dealt with elsewhere in this Section 6) and
        such default or breach continues for a period of 30 days, or, in the case of any failure to
        comply with Section 4(a) of this Agreement, 60 days, in each case after there has been
        given, by registered or certified mail, to the Payor by the Payee a written notice specifying
        such default or breach and requiring it to be remedied and stating that such notice is a
        “Notice of Default” hereunder;

                (c)    the Payor, pursuant to or within the meaning of the Bankruptcy Code or any
        similar federal or state law for the relief of debtors, (i) commences a voluntary case, (ii)
        consents to the entry of an order for relief against it in an involuntary case, (iii) consents to
        the appointment of a custodian of it or for all or substantially all of its property, (iv) makes
        a general assignment for the benefit of its creditors, or (v) generally is not paying its debts
        as they become due; and

                (d)      a court of competent jurisdiction enters an order or decree under the
        Bankruptcy Code or any similar federal or state law for the relief of debtors that (i) is for
        relief against the Payor, (ii) appoints a custodian of the Payor for all or substantially all of
        the property of the Payor, or (iii) orders the liquidation of the Payor, and, in each case of
        (i) through (iii) above, such order or decree remains unstayed and in effect for 60
        consecutive days.

        Upon becoming aware of any Default or Event of Default, the Payor shall promptly deliver
to the Payee a statement specifying such Default or Event of Default.

        7.     Remedies. Upon the occurrence of any Event of Default, and at any time thereafter
during the continuance of any such Event of Default, the Payee may pursue any available remedy
to collect any unfunded Payments due and owing to the Payee or to enforce the performance of
any provision of this Agreement.

      8.      Notices. All notices required under this Agreement, including each Funding
Request and any approval of or objection to a Funding Request, shall be delivered to the applicable

                                                   11
NAI-1535636655
 Case 23-12825-MBK          Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                  Desc
                                  Annex E Page 13 of 18



party to this Agreement at the address set forth below. Unless otherwise specified herein, delivery
of any such notice by email, facsimile or other electronic transmission (including .pdf) shall be
effective as delivery of a manually executed counterpart thereof.

        Payor:

        Johnson & Johnson Holdco (NA) Inc.
        One Johnson & Johnson Plaza
        New Brunswick, NJ 08933
        Attention: Laura McFalls, President
        Email: lmcfalls@its.jnj.com

        Payee:

        LTL Management LLC
        501 George Street
        New Brunswick, NJ 08933
        Attention: Robert Wuesthoff, President
        Email: rwhuestho@its.jnj.com

        with a copy to:

        LTL Management LLC
        501 George Street
        New Brunswick, NJ 08933
        Attention: John Kim, Chief Legal Officer
        Email: JKim8@its.jnj.com

        9.      Governing Law; Submission to Jurisdiction. This Agreement shall be governed
and construed in accordance with the laws of the State of New Jersey. Any legal proceeding
seeking to enforce any provision of, or based on any matter arising under, this Agreement may be
brought: (a) at any time there is not a proceeding under the Bankruptcy Code pending with respect
to the Payee, in state or federal court in New Brunswick, New Jersey; or (b) at any time there is a
proceeding under the Bankruptcy Code pending with respect to the Payee, in the Bankruptcy
Court. The Payor and the Payee hereby irrevocably and unconditionally submit to the jurisdiction
of such courts (and of the appropriate appellate courts therefrom) in any such legal proceeding.

        10.     No Implied Waiver; Amendments. No failure or delay on the part of the Payee to
exercise any right, power or privilege under this Agreement, and no course of dealing between the
Payor, on the one hand, and the Payee, on the other hand, shall operate as a waiver thereof, nor
shall any single or partial exercise of any right, power or privilege under this Agreement preclude
any other or further exercise thereof or the exercise of any other right, power or privilege. No
notice to or demand on the Payor in any case shall entitle the Payor to any other or further notice
or demand in similar or other circumstances, or constitute a waiver of the right of the holder of this
Agreement to any other or further action in any circumstances without notice or demand. The
remedies provided in this Agreement are cumulative and not exclusive of any remedies provided
by law. No amendment or waiver of any provision of this Agreement, nor consent to any departure


                                                 12
NAI-1535636655
 Case 23-12825-MBK          Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                 Desc
                                  Annex E Page 14 of 18



by the Payee therefrom, shall in any event be effective unless the same shall be in writing,
specifically refer to this Agreement, and be signed by the Payor and the Payee, and then such
amendment or waiver shall be effective only in the specific instance and for the specific purpose
for which given. A waiver on any such occasion shall not be construed as a bar to, or waiver of,
any such right or remedy on any future occasion.

        11.     Counterparts; Entire Agreement; Electronic Execution. This Agreement may be
executed in separate counterparts, each of which shall constitute an original, but all of which when
taken together shall constitute a single contract. This Agreement constitutes the entire contract
among the parties hereto relating to the subject matter hereof and supersedes, in its entirety, the
2021 Funding Agreement and any and all previous agreements and understandings, oral or written,
relating to the subject matter hereof. This Agreement shall become effective when it shall have
been executed by each party hereto and each party hereto shall have received counterparts hereof
which, when taken together, bear the signatures of each of party hereto, and thereafter shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and
assigns. Delivery of an executed counterpart of a signature page of this Agreement by
telecopy, .pdf or any other electronic means that reproduces an image of the actual executed
signature page shall be effective as delivery of a manually executed counterpart of this Agreement.

        12.     Severability. If any one or more of the provisions contained in this Agreement are
invalid, illegal or unenforceable in any respect, the validity, legality or enforceability of all the
remaining provisions will not in any way be affected or impaired. If any one or more provisions
contained in this Agreement are deemed invalid, illegal or unenforceable because of their scope or
breadth, such provisions shall be reformed and replaced with provisions whose scope and breadth
are valid under applicable law.

        13.    Transfer; Assignment. This Agreement shall be binding upon the Payor and its
successors and assigns, and the terms and provisions of this Agreement shall inure to the benefit
of the Payee and its successors and assigns. The Payor’s rights and obligations under this
Agreement may not be assigned without the prior written consent of the Payee; provided, however,
that no such consent of the Payee shall be required in connection with any transfer effectuated in
compliance with Section 4(b). The Payee’s rights and obligations under this Agreement may not
be assigned without the prior written consent of the Payor. Any purported assignment of rights or
obligations under this Agreement other than as permitted by this Section 13 shall be null and void.

        14.     Construction. The descriptive headings herein are inserted for convenience of
reference only and are not intended to be part of or to affect the meaning or interpretation of this
Agreement. The word “including” means without limitation by reason of enumeration. The words
“hereof,” “herein” and “hereunder” and words of similar import, when used in this Agreement,
refer to this Agreement as a whole and not to any particular provision of this Agreement. Unless
specifically stated otherwise, all references to Sections and Schedules are to the Sections and
Schedules of or to this Agreement.

       15.     Rights of Parties. This Agreement shall not confer any rights or remedies upon any
Person other than the parties hereto and their respective successors and permitted assigns.

                                     [Signature Page Follows]


                                                 13
NAI-1535636655
 Case 23-12825-MBK        Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04             Desc
                                Annex E Page 15 of 18




         IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
first written above.

                                      JOHNSON & JOHNSON HOLDCO (NA) INC., a
                                      New Jersey corporation, as the Payor



                                      »log
                                                  °
                                      Name: Laura Mcfalls
                                      Title: President



                                      LTL MANAGEMENT LLC, a North Carolina limited
                                      liability company, as the Payee




                                       By:------------------
                                      Name: Robert Wuesthoff
                                      Title: President




                              [Signature Page to Funding Agreement}
 Case 23-12825-MBK       Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04          Desc
                               Annex E Page 16 of 18




        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
first written above.

                                      JOHNSON & JOHNSON HOLDCO (NA) INC., a
                                      New Jersey corporation, as the Payor



                                      By: __________________________________________
                                      Name: Laura McFalls
                                      Title: President



                                      LTL MANAGEMENT LLC, a North Carolina limited
                                      liability company, as the Payee



                                      By: __________________________________________
                                      Name: Robert Wuesthoff
                                      Title: President




                             [Signature Page to Funding Agreement]
 Case 23-12825-MBK           Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                 Desc
                                   Annex E Page 17 of 18




                                          SCHEDULE 1

                              Definition of Talc Related Liabilities

        For purposes of this Agreement, “Talc Related Liabilities” means all Liabilities (as defined
below) of the Payee related in any way to injury or damage, or alleged injury or damage, sustained
or incurred in the purchase or use of, or exposure to, talc, including talc contained in any product,
or to the risk of, or responsibility for, any such damage or injury, including such Liabilities based
on the contamination, or alleged contamination, of talc, including talc contained in any product,
with asbestos or any other material.

        Capitalized terms that are used in this Schedule 1 have the following meanings:

                (a)    “Cause of Action” means any claim, judgment, cause of action,
        counterclaim, crossclaim, third party claim, defense, indemnity claim, reimbursement
        claim, contribution claim, subrogation claim, right of set off, right of recovery, recoupment,
        right under any settlement Contract and similar right, whether choate or inchoate, known
        or unknown, contingent or noncontingent.

               (b)    “Contract” means any contract, agreement, arrangement, lease, indenture,
        mortgage, deed of trust, evidence of indebtedness, License, Plan, guarantee, understanding,
        course of dealing or performance, instrument, bid, order, proposal, demand, offer or
        acceptance, whether written or oral.

                (c)     “Governmental Authority” means any national, central, federal, state,
        provincial, municipal, local or other domestic, foreign or supranational governmental,
        legislative, administrative or regulatory authority, agency, court, arbitration tribunal,
        board, department or commission, or other governmental or regulatory entity, including
        any competent governmental authority responsible for the determination, assessment or
        collection of taxes.

                (d)     “Law” means any national, central, federal, state, provincial, municipal,
        local or other domestic, foreign or supranational statute, law, ordinance, decree, order,
        injunction, rule, regulation, directive, constitution, code, edict, writ, judgment, opinion,
        decree, injunction, stipulation, award or other document or pronouncement having the
        effect of law (including common law) of any Governmental Authority, including rules and
        regulations of any regulatory or self-regulatory authority with which compliance is
        required by any of the foregoing.

                 (e)    “Liability” shall mean any claim, demand, offer, acceptance, action, suit,
        liability or obligation of any kind, whether accrued or fixed, absolute or contingent,
        matured or unmatured, determined or determinable, choate or inchoate, asserted or
        unasserted, known or unknown, including (i) those arising or that may arise under any past,
        present or future Law or Contract or pursuant to any Cause of Action or Proceeding and
        (ii) all claims for economic or noneconomic damages or injuries of any type or nature
        whatsoever (including claims for physical, mental and emotional pain and suffering, loss


NAI-1535636655
 Case 23-12825-MBK           Doc 4-5 Filed 04/04/23 Entered 04/04/23 16:35:04                  Desc
                                   Annex E Page 18 of 18




        of enjoyment of life, loss of society or consortium and wrongful death, as well as claims
        for damage to property and punitive damages).

               (f)     “License” means any license, sublicense, agreement, covenant not to sue or
        permission.

                (g)     “Person” means any individual, corporation (including any non-profit
        corporation), general or limited partnership, limited liability company, joint venture, estate,
        trust, benefit plan, unincorporated organization, business, syndicate, sole proprietorship,
        association, organization, labor union or other entity or Governmental Authority.

                (h)    “Plan” means, with respect to any Person, (i) any “employee benefit plan”
        (as defined in Section 3(3) of ERISA), (ii) all specified fringe benefit plans as defined in
        Section 6039(D) of the Internal Revenue Code, and (iii) any other plan, program, policy,
        agreement or arrangement, whether or not in writing, relating to compensation, employee
        benefits, severance, change in control, retention, deferred compensation, equity,
        employment, consulting, vacation, sick leave, paid time off, salary continuation, disability,
        hospitalization, medical insurance, life insurance, scholarship programs, incentive
        compensation or bonus compensation, in each case that is sponsored, maintained or
        contributed to or required to be sponsored, maintained or contributed to by, or otherwise
        covering, such Person.

                (i)    “Proceeding” means any action, appeal, arbitration, assessment,
        cancellation, charge, citation, claim, complaint, concurrent use, controversy, contested
        matter, demand, grievance, hearing, inquiry, interference, investigation, litigation
        (including class actions and multidistrict litigation), mediation, opposition, re-examination,
        summons, subpoena or suit, or other case or proceeding, whether civil, criminal,
        administrative, judicial or investigative, whether formal or informal, whether public or
        private, commenced, brought, conducted or heard by or before, under the supervision or
        direction of, or otherwise involving, any Governmental Authority or arbitrator or other
        agreed-upon tribunal or dispute resolution mechanism.




NAI-1535636655
